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AO 91 (Rev. ll/ll) Crirninal Complaint

UNITED STATES DISTRICT CoURT

for the

 

JUN 255 ZD'SB

Southern District of Texas M,E 65 §M@bmj §§@U

 

 

 

United States of America ) s
V. ) g _
Dulce Roclo GONZALEZ-Garcia ) Case NO' M-’ ! y /3 é M
DoB: 1991 )
Citizenship: l\/|exico §
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June 27, 2018 in the county of Hida|QO in the
Southern District of Texas , the defendant(s) violated:
Coa’e Section ` O]j‘ense Description
21 USC § 952 ||lega| |mportation of a Control|ed Substance / Approximately 10.60

Ki|ograms of Cocaine, a Schedule ll Contro|led Substance

This criminal complaint is based on these facts:

See Attachment "A"

d Continued on the attached Sheet.

Md%~

Complainam 'S signature

 

b Nicholas c. stou, Hsl Special Agem

 

 

Printed name and title

»z¢»

SWorn to before me and signed in my presence.

/_
Date¢M§._ <'é'{?er,\_ //QKZM

Judge ’s signature l

City and state: N|cA||en, Texas U.S. Magistrate Judge Peter Ormsby

Primed name and title

 

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Attachment “A”

l, Nicholas C. Stott, am a Special Agent of the United States Homeland Security Investigations
(HSI), and have knowledge of the following facts:

1.

On June 27, 2018, Homeland Security lnvestigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
Office of Field Operations at the Pharr Port of Entry (POE) in Pharr, TeXas. CBP Officers
(CBPOs) detained Dulce Rocio GONZALEZ» Garcia (hereafter GONZALEZ), a citizen of
l\/lexico, while attempting to enter the U.S. with approximately 10.60 kilograms (kg) of
cocaine concealed within the floor of the Chevrolet Malibu passenger car she was driving

During primary inbound inspection, CBP Officers (CBPOS) obtained a negative oral
declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00.
CBPOs referred GONZALEZ and the vehicle to secondary inspection for an intensive
examination due to a computer lookout.

. During secondary inspection, CBPOs conducted a non-intrusive X-Ray inspection and

discovered anomalies in the floor of the vehicle. A CBP K-9 narcotics detection team
conducted a free air inspection which resulted in a positive alert for the odor of controlled
substance(s) emanating from the vehicle.

A physical search of the vehicle was conducted and 10 cellophane wrapped, vacuum sealed
and grease lined packages were discovered concealed within an aftermarket constructed
concealed compartment in the tioor of the vehicle. CBPOs field tested the substance inside
the packages which were positive for the characteristics of cocaine.

Homeland Security Investigations (HSI), Special Agents (SA) responded to the Pharr POE to
assist in the investigation HSI SAs interviewed GONZALEZ who stated (post-Miranda
warning) she was hired by an unknown person in l\/[exico and to be paid $500.()0 USD to
transport what she suspected to be illegal items, specifically drugs, into the United States.

GONZALEZ will be charged with one count of lllegal Importation of a Controlled
Substance, in violation of 21 USC § 952.

 

